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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Plaintiff,
Vv.
JOHN R. BELLHOUSE,

Defendant.

OAKLAND DIVISION

CASE NO. 4:22-CR-00066-YGR

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Verdict Form
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)

VERDICT FORM
4:22-CR-00066-YGR

FILE
JUN 05 2023

CLERK, U.S. DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

WE, THE JURY, IN THE ABOVE-ENTITLED CASE, MAKE THE FOLLOWING UNANIMOUS FINDINGS AS

TO DEFENDANT JOHN RUSSELL BELLHOUSE AS TO EACH COUNT BELOW:

DATED:

For COUNT ONE of the Indictment, a violation of Title 18 U.S.C. § 2243(b) for the crime
of sexual abuse of a ward for engaging in a sexual act with Ana.

GUILTY__i4% NOT GUILTY

For COUNT TWO of the Indictment, a violation of Title 18 U.S.C. § 2243(b) for the crime
of sexual abuse of a ward for engaging in a sexual act with Ana.

GUILTY ™% NOT GUILTY

For COUNT THREE of the Indictment, a violation of Title 18 U.S.C. § 2244(a)(4) for the
crime of abusive sexual contact for engaging in sexual contact with Ana.

GUILTY NOT GUILTY

For COUNT FOUR of the Indictment, a violation of Title 18 U.S.C. § 2244(a)(4) for the
crime of abusive sexual contact for engaging in sexual contact with Genesis.

GUILTY NOT GUILTY

For COUNT FIVE of the Indictment, a violation of Title 18 U.S.C. § 2244(a)(4) for the

crime of abusive sexual contact for engaging in sexual contact with Genesis.

GUILTY ~ NOT GUILTY
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PNG JUROR NO
Hatt fl?
PRESIDING JURORSSIGNATURE

VERDICT FORM

4:22-CR-00066-YGR

No

